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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )             BK No.:     19-24356
                                              )
IZABEL M. SZYMANSKI                           )             Chapter: 13
                                              )
                                              )             Honorable Timothy A. Barnes
                                              )
               Debtor(s)                      )

                    AGREED ORDER CONDITIONING AUTOMATIC STAY

         This cause coming to be heard on the motion of Coach Light Condominium Association through
its attorneys Ronald J. Kapustka of Kovitz Shifrin Nesbit to modify the stay, the Court being fully
advised;

  IT IS ORDERED:


   1. That the Debtor(s) shall cure the default through November 6, 2020 of $4,348.54 by submitting
one payment of $800.00 on or before November 12, 2020 and thereafter payment of $354.85 monthly,
in addition to the regular monthly assessment, for 10 months with the first payment on or before
December 1, 2020 and a final payment on or before September 1, 2021. If Debtor fails to do so, the
default provisions of paragraph 3, below, shall apply. These payments are to be made in addition to the
regular monthly assessments and any other payments required under the Debtor’s plan.


  2. Effective immediately, the Debtor(s) shall make timely post-petition assessment payments to
Coach Light Condominium Association. If the Debtor fails to tender the post-petition monthly
payments due Coach Light Condominium Association accruing thereby a two-month default, then the
default provisions of paragraph 3, below, shall apply.


    3. If the Debtors fail to comply with the terms of paragraphs 1 or 2 above, then the automatic stay
shall be modified, without further order of court, so as to allow Coach Light Condominium Association
to exercise its rights under non-bankruptcy law, and to collect assessments, legal fees, and costs against
the Debtor pre and post petition, with regard to the property commonly known as 2312 Algonquin
Road, Unit 12, Rolling Meadows, Illinois, PROVIDED that written notice of default is mailed to the
Debtor(s) and Debtor(s) attorney and the default specified therein is not cured within fourteen (14) days
of the mailing of the notice.


  4. If the automatic stay is modified pursuant to paragraph 3 above, Coach Light Condominium
Association shall file a Notice of Failure to Comply with the clerk of the court.This relief from the
automatic stay will survive the conversion of the current chapter to any other chapters under Title 11.



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    5. The Debtor(s) may elect to cure within the fourteen (14) day period by tendering the required
funds along with a $198.75 service fee to the offices of Kovitz Shifrin Nesbit at the address below.
Cure must be made payable to Coach Light Condominium Association. For purposes of determining
when the stay is modified, the stay shall be considered modified upon the expiration of the cure term
when the Debtor(s) fails to cure.

                                                         Enter:


                                                                  Honorable Timothy A. Barnes
Dated:                                                            United States Bankruptcy Judge
         11.12.20
Prepared by:
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